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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ROBYN ABRAHAM,

                           Plaintiff,
                                                     17 Civ. 5429 (KPF)
                    -v.-
                                                          ORDER
ABBY LEIGH, et al.,

                           Defendants.

KATHERINE POLK FAILLA, District Judge:

      Approximately 30 minutes prior to a scheduled hearing in the case,

Plaintiff Robyn Abraham filed a motion to stay the hearing. (Dkt. #581). The

Court does not believe that it has been divested of jurisdiction to consider the

issues raised by former counsel’s submissions to the Court, and it will not

therefore stay the conference. Application denied.

      SO ORDERED.

Dated:       October 19, 2020
             New York, New York             __________________________________
                                                 KATHERINE POLK FAILLA
                                                United States District Judge
